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13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
16    HUGO AGUILAR, individually and          Case No.:   '17CV1138 JAH NLS
17    on behalf of all others similarly
      situated,                               CLASS ACTION
18                                            COMPLAINT FOR DAMAGES
19                   Plaintiff,               FOR VIOLATION OF:

20                                               I.    THE FAIR DEBT
                        v.                             COLLECTION
21                                                     PRACTICES ACT, 15
                                                       U.S.C. § 1692, ET SEQ.;
22    GATESTONE & CO.                                  AND,
      INTERNATIONAL, INC.,
23                                               II.   THE ROSENTHAL FAIR
                     Defendant.                        DEBT COLLECTION
24                                                     PRACTICES ACT, CAL.
                                                       CIV. CODE § 1788, ET
25                                                     SEQ.

26                                            JURY TRIAL DEMANDED

27
28

     Class Action Complaint For Damages
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1                                         INTRODUCTION
2    1. The United States Congress has found abundant evidence of the use of abusive,
3          deceptive, and unfair debt collection practices by many debt collectors, and has
4          determined that abusive debt collection practices contribute to the number of
5          personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
6          of individual privacy. Congress wrote the Fair Debt Collection Practices Act,
7          15 U.S.C. § 1692 et seq, to eliminate abusive debt collection practices by debt
8          collectors, to ensure that those debt collectors who refrain from using abusive
9          debt collection practices are not competitively disadvantaged, and to promote
10         consistent State action to protect consumers against debt collection abuses.
11   2. The California legislature has determined that the banking and credit system and
12         grantors of credit to consumers are dependent upon the collection of just and
13         owing debts and that unfair or deceptive collection practices undermine the
14         public confidence that is essential to the continued functioning of the banking
15         and credit system and sound extensions of credit to consumers. The Legislature
16         has further determined that there is a need to ensure that debt collectors exercise
17         this responsibility with fairness, honesty and due regard for the debtor’s rights
18         and that debt collectors must be prohibited from engaging in unfair or deceptive
19         acts or practices.
20   3. Hugo Aguilar (“Plaintiff”), individually and on behalf of all others similarly
21         situated, brings this Class Action Complaint for damages, injunctive relief, and
22         any other available legal or equitable remedies, resulting from the illegal actions
23         of Gatestone & Co. International, Inc. (“Defendant”) with regard to attempts by
24         Defendant to unlawfully and abusively collect a debt allegedly owed by Plaintiff,
25         in violation of Federal and State debt collection laws.
26   ///

27   ///

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     Class Action Complaint                                                     Page 1 of 9
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1    4. Plaintiff alleges as follows upon personal knowledge as to himself and his own
2          acts and experiences, and, as to all other matters, upon information and belief,
3          including investigation conducted by his attorneys.
4    5. While many violations are described below with specificity, this Complaint
5          alleges violations of the statutes cited in their entirety.
6    6. Unless otherwise stated, Plaintiff alleges that any violations by Defendant were
7          knowing and intentional, and that Defendant did not maintain procedures
8          reasonably adapted to avoid any such violation.
9    7. Unless otherwise indicated, the use of Defendant in this Complaint includes all
10         agents, employees, officers, members, directors, heirs, successors, assigns,
11         principals, trustees, sureties, subrogees, representatives, and insurers of
12         Defendant.
13                                   JURISDICTION AND VENUE
14   8. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. § 1692k
15         and 28 U.S.C. § 1367 for supplemental state claims.
16   9. This action arises out of Defendant’s violations of (i) the Fair Debt Collection
17         Practices Act, 15 U.S.C. §§ 1692, et seq (“FDCPA”); and, (ii) the Rosenthal Fair
18         Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq. (“RFDCPA”).
19   10. Because Defendant conducts business within the State of California, personal
20         jurisdiction is established.
21   11. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
22         Plaintiff resides in the County of San Diego, State of California which is within
23         this judicial district; (ii) the conduct complained of herein occurred within this
24         judicial district; and, (iii) Defendant conducts business within this judicial
25         district and is located within this judicial district as well.
26   ///
27   ///
28   ///


     Class Action Complaint                                                   Page 2 of 9
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1                                          PARTIES
2    12. Plaintiff is a natural person who resides in the County of San Diego, State of
3        California, from whom a debt collector sought to collect a consumer debt which
4        was due and owing or alleged to be due and owing from Plaintiff, and is a
5        “debtor” as that term is defined by California Civil Code § 1788.2(h). In
6        addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
7        1692a(3).
8    13. Plaintiff is informed and believes, and thereon alleges, that Defendant’s state of
9        incorporation is Delaware and its principal place of business is Phoenix,
10       Arizona.
11   14. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
12       ordinary course of business, regularly, on behalf of itself or others, engages in
13       debt collection as that term is defined by California Civil Code § 1788.2(b), and
14       is therefore a “debt collector” as that term is defined by California Civil Code §
15       1788.2(c) and 15 U.S.C. § 1692a(6).
16   15. This case involves money, property or their equivalent, due or owing or alleged
17       to be due or owing from a natural person by reason of a consumer credit
18       transaction. As such, this action arises out of a “consumer debt” and “consumer
19       credit” as those terms are defined by Cal. Civ. Code § 1788.2(f) and a “debt” as
20       that term is defined by 15 U.S.C. 1692a(5).
21                                 FACTUAL ALLEGATIONS
22   16. At all times relevant, Plaintiff is and was an individual residing within the State
23       of California.
24   17. Sometime prior to May 2015, Plaintiff incurred financial obligations to Bank of
25       America for a personal credit card.
26   18. These alleged financial obligations were money, property, or their equivalent,
27       which is due or owing, or alleged to be due or owing, from a natural person to
28       another person and were therefore “debt[s]” as that term is defined by California


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1          Civil Code §1788.2(d), and a “consumer debt” as that term is defined by
2          California Civil Code §1788.2(f).
3    19. Sometime thereafter, Plaintiff allegedly fell behind on payments owed on the
4          alleged debt. Plaintiff disputes the validity of the debt.
5    20. As a result, Plaintiff received a written communication from Defendant
6          by U.S. mail about a week after June 5, 2016 - which is the date on the
7          communication.
8    21. The communication contains a defective notice under 15 U.S.C. § 1692g(a)(4)
9          and states;
10
                    “If you notify this office in writing within 30 days after
11                  receiving this notice, this office will: obtain verification of
                    the debt or obtain a copy of a judgment and mail you a
12
                    copy of such judgment or verification.”
13
14   22. But 15 U.S.C. § 1692g(a)(4) requires a written notice containing a statement
15         that;
16
                    “if the consumer notifies the debt collector in writing
17                  within the thirty-day period that the debt, or any portion
                    thereof, is disputed, the debt collector will obtain
18
                    verification of the debt or a copy of a judgment against the
19                  consumer and a copy of such verification or judgment will
20                  be mailed to the consumer by the debt collector.”

21
     23. Through this conduct, Defendant violated 15 U.S.C. § 1692g(a)(4). It also used
22
           unfair or unconscionable means to collect or attempt to collect a debt.
23
           Consequently, Defendant violated 15 U.S.C. § 1692f too. This section is
24
           incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
25
           Defendant also violated Cal. Civ. Code § 1788.17.
26
     ///
27
     ///
28

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1                                    CLASS ALLEGATIONS
2    24. Plaintiff brings this action on behalf of himself individually, and on behalf of all
3        others similarly situated (“the Classes”).
4    25. Plaintiff defines Class 1 as:
5
                   (i) all persons with addresses within the United States of
6                  America; (ii) who were sent one or more collection
                   letter(s) by Defendant; (iii) that were substantially similar
7
                   to the letter Defendant sent Plaintiff; (iv) to recover a
8                  consumer debt; (v) which was not returned undeliverable
                   by the United States Postal Service; (vi) at any time one
9
                   year prior to the date of the filing of this Action.
10
11   26. Plaintiff defines Class 2 as:
12
                   (i) all persons with addresses within the State of
13                 California; (ii) who were sent one or more collection
14                 letter(s) by Defendant; (iii) that were substantially similar
                   to the letter Defendant sent Plaintiff; (iv) to recover a
15                 consumer debt; (v) which was not returned undeliverable
16                 by the United States Postal Service; (vi) at any time one
                   year prior to the date of the filing of this Action.
17
18   27. Plaintiff refers to Class 1; and, Class 2 jointly as “The Classes.”
19   28. Defendant and their employees or agents are excluded from the Classes.
20   29. Plaintiff does not know the exact number of persons in the Classes, but believes
21       them to be in the several hundreds, if not thousands, making joinder of all these
22       actions impracticable.
23   30. The identity of the individual members is ascertainable through Defendant’s
24       and/or Defendant’s agents’ records or by public notice.
25   31. There is a well-defined community of interest in the questions of law and fact
26       involved affecting the members of the Class. The questions of law and fact
27       common to the Class predominate over questions affecting only individual class
28       members, and include, but are not limited to, the following:

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1               a. Whether Defendant violated the FDCPA as described herein;
2               b. Whether Defendant violated the RFDCPA as described herein;
3               c. Whether members of the Class are entitled to the remedies under the
4                  FDCPA;
5               d. Whether members of the Class are entitled to the remedies under the
6                  RFDCPA;
7               e. Whether members of the Class are entitled to declaratory relief;
8               f. Whether members of the Class are entitled to injunctive relief;
9               g. Whether members of the Class are entitled to an award of reasonable
10                 attorneys’ fees and costs of suit pursuant to the FDPCA;
11              h. Whether members of the Class are entitled to an award of reasonable
12                 attorneys’ fees and costs of suit pursuant to the RFDPCA;
13              i. Whether Defendant may satisfy Defendant’s affirmative defense of
14                 bona fide error with regard to Defendant’s violation of the FDCPA;
15                 and,
16              j. Whether Defendant may satisfy Defendant’s affirmative defense of
17                 bona fide error with regard to Defendant’s violation of the RFDCPA.
18   32. Plaintiff will fairly and adequately protect the interest of the Classes.
19   33. Plaintiff has retained counsel experienced in consumer class action litigation and
20       in handling claims involving unlawful debt collection practices.
21   34. Plaintiff’s claims are typical of the claims of the Classes, which all arise from
22       the same operative facts involving unlawful collection practices.
23   35. A class action is a superior method for the fair and efficient adjudication of this
24       controversy.
25   36. Class-wide damages are essential to induce Defendant to comply with the
26       federal and State laws alleged in the Complaint.
27   37. The interests of class members in individually controlling the prosecution of
28       separate claims against Defendant is small because the maximum statutory


     Class Action Complaint                                                   Page 6 of 9
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1        damages in an individual action under the FDCPA and the RFDCPA is $1,000.
2        Management of these claims is likely to present significantly fewer difficulties
3        than those presented in many class claims, e.g., securities fraud.
4    38. Defendant has acted on grounds generally applicable to the classes, thereby
5        making appropriate final declaratory relief with respect to the class as a whole.
6    39. Plaintiff contemplates providing notice to the putative class members by direct
7        mail in the form of a postcard-type notice and via Internet website.
8    40. Plaintiff requests certification of a hybrid class for monetary damages and
9        injunctive relief.
10                                        COUNT I
11       VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
12                               15 U.S.C. §§ 1692 ET SEQ.
13                              [AGAINST ALL DEFENDANTS]
14   41. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
15       as though fully stated herein.
16   42. The foregoing acts and omissions constitute numerous and multiple violations
17       of the FDCPA, including but not limited to each and every one of the above-
18       cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq.
19   43. As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
20       actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for a
21       knowing or willful violation in the amount up to $1,000.00 pursuant to 15 U.S.C.
22       § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
23       § 1692k(a)(3) from each Defendant individually.
24                                        COUNT II
25      VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
26                             Cal. Civ. Code § 1788, et seq.
27                              [AGAINST ALL DEFENDANTS]
28   44. Plaintiff incorporates by reference all of the above paragraphs of this Complaint


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1          as though fully stated herein.
2    45. The foregoing acts and omissions constitute numerous and multiple violations
3          of the RFDCPA.
4    46. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
5          any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages
6          for a knowing or willful violation in the amount up to $1,000.00 pursuant to Cal.
7          Civ. Code § 1788.30(b); and reasonable attorney fees and costs pursuant to Cal.
8          Civ. Code § 1788.30(c) from each Defendant individually.
9                                     PRAYER FOR RELIEF
10   WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
11            That this action be certified as a class action on behalf of The Classes and
12              Plaintiff be appointed as the representatives of The Class;
13            An award of actual damages, in an amount to be determined at trial,
14              pursuant to Cal. Civ. Code § 1788.30(a), for each plaintiff and putative
15              class member;
16            An award of actual damages, in an amount to be determined at trial,
17              pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
18              individually;
19            An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
20              § 1788.30(b), for each plaintiff and putative class member;
21            An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
22              1692k(a)(2)(A), against each named Defendant individually;
23            An award of costs of litigation and reasonable attorney’s fees, pursuant to
24              Cal. Civ. Code § 1788.30(c);
25            An award of costs of litigation and reasonable attorney’s fees, pursuant to
26              15 U.S.C. § 1692k(a)(3), against each named Defendant individually; and,
27            Any and all other relief that this Court deems just and proper.
28   ///


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1                                           TRIAL BY JURY
2     47. Pursuant to the seventh amendment to the Constitution of the United States of
3         America, Plaintiff is entitled to, and demands, a trial by jury.
4
5
      Dated: June 6, 2017                             Respectfully submitted,
6
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